                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF V/ISCONSIN

PABLITO VEGA,

             Plaintiff,
                                                           Case No. 23-CV-1357
VS.


COMMUNITY DEVELOPMENT FINANCIAL
  INSTITUTION LOCAL INITIATIVES SUPPORT
  CORPORATION MILWAUKEE OFFICE,

COMMUNITY DEVELOPMENT FINANCIAL
  INSTITUTION MILV/AUKEE ECONOMIC
  DEVELOPMENT CORPORATION

             Defendants.



                    DECLARATION OF DAVID E. LATONA
            IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS FOR
                        FAILURE TO STATE A CLAIM


STATE OF WISCONSIN                  )
                                    ) SS
COUNTY OF MILWAUKEE                 )




      I, David E. Latona, having been first duly sworn on oath, depose and state the following:
      1.     I make this Declaration in support of Defendants' Motion to Dismiss for Failure

      to State a Claim Upon Which Relief May be Granted.

      2.     I have personal knowledge of all facts attested to within this Declaration.

      3.     I am currently the President of the Milwaukee Economic Development

      Corporation (MEDC) and have been employed by the organization since 1998.

      4.     I have personal knowledge of the Diverse Business Initiative Grant program and
      MEDC's administration thereof.




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5.     MEDC did not receive final guidance on how it was to disburse the grants from the

Wisconsin Department of Administration until January 2023.

6.     Due to this, MEDC was unable to approve grant applications until January 10,2023.

7.     I declare under penalty of perjury that the foregoing is true and correct.




Dated this 15th day of December, 2023.



                                                      David E

Subscribed and sworn to before me                           'oltli!;¡ ,:4,
    5th day of December,2023                                    NE- t!4

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       Public,      of
My Commission:                                                    /c         .}
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